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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )           Criminal No. 08-30155-CJP
                                                )
BRIAN POTTER,                                   )
                                                )
              Defendant.                        )

                                            ORDER

PROUD, Magistrate Judge:

       For good cause shown, the Government’s Motion to Dismiss (Doc. 19) is GRANTED.

       The Information is dismissed as to defendant Brian Potter, and said defendant’s bond is

discharged.

       The Clerk of Court shall enter final judgment and close this case.

       IT IS SO ORDERED.

       DATED: March 8, 2010.


                                            s/ Clifford J. Proud
                                            CLIFFORD J. PROUD
                                            UNITED STATES MAGISTRATE JUDGE
